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                                       VCU SPINE CENTER
                                 8700 Stony Point Parkway * Suite 260
                                       Richmond, Virginia 23235
                                             (804) 827-7463



                                   Declaration to Return to School
  Name:_-+-.A~L.Jl..ll\~-,4q.~~'--"""'12..~~::-~.;..:.:::...;.:((_ _ _ _ _ _ _ _ _ _ __
  was seen _ _ _ _ _U        _________ (date) _ _ _ _ _ _ _ (time) _ _ __
  and will be able to return to school o n - - - - - - - - - - - - - - - - - - - -

  Physical Education         _ _ may take                               limited                      _ _ may not take

  Recess:                    _ _ may go outside               _ _ may not go outside

  Comments=·--------------------------------~


                                                                                                     Phone: (804) 828-5883
  Dr·---~--------------------
  401 North 11 1 Street
  P. 0. Box 980216
  Richmond, VA 23219



                                    Declaration to Return to Work

   Name: _       _,_JA~o:..:....;f\~\~+---JJ.~:......i"'----S:~O"\~o.." " " " " - - - - - - - - - - -
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         Restrictions                _ _ Light Work


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   Dr.           ~rr'/1£<                                      f;.,J,                         Phone: (804) 828-51183
  401 North JtStreet
  P.O. Box 980216
  Richmond, VA 23219
                                              £h                                 , AD
  Office Use Only:            Patient's Chart N u m b e r : - - - - - - - - - - -
                              Patient's D O B : - - - - - - - - - - - - - - - - -




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         Case 3:17-cv-00429-JAG Document 5-2 Filed 08/30/17 Page 2Patient
                                                                   of 5 name/medical
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vcu   Virginia                           Cornmonwe.ilth                                             University

                                                                                                               VCU Spine Center
Medical Center
In the tradition of the Medical College of Virginia
                                                                                                                 Stony Point. Suite 260
                                                                                                                 8700 Stony Point Parkway
                                                                                                                                             (
                                                                                                                                                 I




                                                                                                               ..P.O. Box 980238
                                                                                                                 Riduncnd, VillliRia 23235

                                                                                                                804827-7463
                                                                                                                Fax: 804 323-2999
              Declaration to Return to School                                                                   TDD: 1.axJ.828.1120




              was s e e n - - - - - - - - - Date ______ Time _ _ __

              and will be able to return to school on - - - - - - - - - - - -

              Physical Education:         a may participate a may not participate
                                          o llmited _______________

              Recess:                     a may go outside                              a may not go outside

              Commen~=---------~-------------



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              Dr. _ _ _ __                    MRll       4)1964'J




                                                     Declaration to Retur.n to Work

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              a Restrictions
     Case 3:17-cv-00429-JAG Document 5-2 Filed 08/30/17 Page 3 of 5 PageID# 72
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                                                         Virginia Employment Conmission
                                                REQUEST FOR PHYSICIAN'S CERTIFICATE OF HEALTH
                                                                                                                                                                                         Effective Date
                                                                                                                                                                                                          -----
                        (PLEASE PRINT OR TYPE)                                                                                                                                                F. 0. No. --------
            Cla1mant·s Name
            To be eligi~le
                                   ------------------                    S.S. No.
                                                                                  -----------------
                                  to receive unemplo.Yment benefits under the Virginia Unemployment Compensation Act. a
            claimant mllst be physically and mentally able to work. As my physician. please give the Virginia
            Employment Conmiss1on your opinion regarding the questions below.·

             Date - - - - - - - -
                                                                                      (Signature of Claimant>
                   1.        What _date did you .first examine this patient during the current illnes~?                                                                                       SEV' ";2.rCJ:::~
                   2.        What is the nature of the patient's illness or disability (please describe                                                                                           lay tenns and avoid
                             abbrev1atio ?




                   3.        Did you·a<lvise the patient to quit his/her last job because of health? YES _ ___...NO_.+
                   4.        Did you advise the patient to take a leave of absence for health reasons?
                             YES_ NO+                                                                         .                                                                          .
                             At any time during current illness. has the patient been incapaci\at~nd totally unable                                                                                           tol~­
                   5.
                             perfonn any work? YES_ NO                 IY)t:A' rJpf         l-1 f"'t                                  y                                                         over /0            p
                             If yes. during   ~at   period of time was the                                           pati~                    totally unable to workj
                             FROH                                       lvOr k:. ~-                       lO                                                                                 h U-y
                   6.
                                                                                 e r L/ '<+--'
                             Is the patient currently able to perfonn af?'wo~S--Jt_ ~~ 2_.~ oU
                                                                                               ·                   i:.;;;;;;J:;
                                                                                                                                                                                                           rs
                             (a) If yes. describe any physical or mental limitation on the type of work patient may perform.

                             (b) If no.   ~at   is the earliest date the patient will be able                                                                                   t9      work?·------------


               Address of Field Office




                                                                                                                                                                                         ~
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                                                  Medical Center :ui::!~emer.2ndflo«
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               Form \fEC.8.14 (R.SJOO)                                                                                                                                                   I

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                              Case 3:17-cv-00429-JAG Document 5-2 Filed 08/30/17 Page 5 of 5 PageID# 74
                                                                            VIRGINIA EMPLOYMENT COMMISSION
                                                                  VERIFICATION OF OFFER OF CONTINUING EMPLOYMENT


                           (Please Print or Type)                                                                                L.O. No.
                           c la i111a nt • s Name _./fl~d~llJL.1.111~t..,'1_..{!._.._/?,.._""'.....~'""h?""".
                                                                                                          -.:.;;4._1...,1.___    s.s. No.    41f'- 9f-c:?..37o
                           As my employer, please give the Virginia Employment Commission your response
                           to the questions listed below.

                           DATE
                                                                                                                            ~(Jn~
                                                                                                                            tsfFe of Claimant)
                           l.      The above named indi v icua 1 was last employed as a                                               .,/:"Al ,,t';r t'e-/11t!'#Vr ,Ip~
                                 ')Ak4' t:J/'H.e-..-.c 4A //?/,/ .P/HL:"A1 ~                                                    MAMf/#b;,J,,;;A.1.
                           2.      Has this individual been offered employment:

                                        a.            During the next academi= year/term? Yes ~ No
                                                                           or
                                        b.            During the remainder of t~is academic term? Yes ,,,,.<'                                        No

                           3.      What type of employment has                                  ~his       individual been offered?           ~~,_,£==;9~~>~r~'~"~~--

                                        /J.: f                A A,"v~




                           DATE           3       /e; 'I
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                                                               dUJll




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     vcu V11"q1n1:1              Commonwi:<llth
                                                        fl Gregoiy Council
                                                        Employee Aela1ions Specialist
                                                        Human Resuuite Division
                                                                      un:vt:r:;.ity


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     l
                                                        Lindsey House
                                                        6llll West Fr.inlclin Sl!eet
                                                        P.O. Box 842511
                                                        Richmond. 'Nginia 23284-2511
                                                        804 8211-1510 • Fa: 8041128-1434
                                                                                                                                            For~ VEc-s-~:        C3/8i)
                                                        hganJnti@vcu.edu

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